                         Case 3:16-bk-03913-JAF                 Doc 65       Filed 06/22/18          Page 1 of 2
                                               United States Bankruptcy Court
                                                Middle District of Florida
In re:                                                                                                     Case No. 16-03913-JAF
Lilly Josephine Real                                                                                       Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113A-3                  User: pcathy                       Page 1 of 1                          Date Rcvd: Jun 20, 2018
                                      Form ID: pdfdoc                    Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 22, 2018.
db             +Lilly Josephine Real,   3550 NW 83rd Avenue, #709,   Doral, FL 33122-1147
cr             +Frank Polo,   1475 SW 8th St,   Apt 411,   Miami, Fl 33135-3891

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 22, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 20, 2018 at the address(es) listed below:
              Alexander G. Smith    alex@agsmithtrustee.com, FL52@ecfcbis.com
              Collette B Cunningham    on behalf of Defendant   United States Of America
               Collette.Cunningham@usdoj.gov,
               dajana.mihaljevic@usdoj.gov;Chantal.sabino@usdoj.gov;Brittany.Robinson2@usdoj.gov
              Edward P Jackson   on behalf of Plaintiff Lilly Josephine Real edward@edwardpjackson.com,
               traci@edwardpjackson.com,linda@edwardpjackson.com,jacksonpacer@gmail.com,
               christina@edwardpjackson.com;p.er70969@notify.bestcase.com
              Edward P Jackson   on behalf of Debtor Lilly Josephine Real edward@edwardpjackson.com,
               traci@edwardpjackson.com,linda@edwardpjackson.com,jacksonpacer@gmail.com,
               christina@edwardpjackson.com;p.er70969@notify.bestcase.com
              United States Trustee - JAX 13/7    USTP.Region21.OR.ECF@usdoj.gov
                                                                                            TOTAL: 5
                     Case 3:16-bk-03913-JAF                         Doc 65              Filed 06/22/18         Page 2 of 2



                                                    UNITED STATES BANKRUPTCY COURT

                                                              Middle District Of Florida
                                                            300 North Hogan Street, 3-350
                                                             Jacksonville, Florida 32202


In re:
LILLY JOSEPHINE REAL
                                                                In a Chapter 7 Case
                                                                Case Number –3-16-BK-03913-JAF
Debtor(s)




                               -TRANSMITTAL OF 5(&25'21 APPEAL TO DISTRICT COURT-

(X)Notice of Appeal Leave pursuant to 28 USC § 158(a) filed May 11, 2018
The Party or Parties included in the Appeal to the District Court:

Appellant(s): Frank E. Polo, 6UPro Se, 9619 Fontainebleau Blvd. Apt 317, Miami, FL 33172 (305-901-3360)
Attorney: PRO SE

Appellee(s): Lilly Josephine Real
Attorney: Edward P. Jackson, 255 N. Liberty Street, Jacksonville, FL 32202 (904-358-1952)

Title and Date of Orders Appealed - Order Granting Motion for Sanctions and Findings of Fact and Conclusion
of Law entered April 27, 2018 and April 30, 2018
Items included in supplemental transmittal pursuant to F.R.B.P. 8003(b):
(X)        Notice of Appeal                                                                    ( ) Any Answers(s)
(;)        Designation in Appeal of AppellanW                                                  ( ) Transcripts
( )        Designation in Cross Appeal                                                         ( ) Exhibits
(;)       Other: 'RFNHW


   Case number(s) of Pending Appeal(s) in this Case: none
District Court Number             County of Residence: Duval                              Date -XQH    By: Cathy Perkins
FY-




Real Transmittal /    /   / Revised: 5/18/2018 1:54:00 PM          Printed: 5/18/2018                                       Page: 1 of 1
